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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLUMBIA

PROJECT FOR PRIVACY AND                            )
SURVEILLANCE ACCOUNTABILITY,                       )
INC.,                                              )
      Plaintiff,                                   )
                                                   )        Civil Action No. 1:21-cv-1972 (CKK)
       v.                                          )
                                                   )
UNITED STATES DEPARTMENT OF                        )
JUSTICE,                                           )
                                                   )
       Defendant.                                  )
                                                   )

                               JOINT STATUS REPORT

       The parties, by counsel, respectfully submit this Joint Status Report in response to

the Court’s October 7, 2022 Minute Order.

       1.       Plaintiff seeks records under the Freedom of Information Act (“FOIA”),

5 U.S.C. § 552, from components of the U.S. Department of Justice (“DOJ”) 1 related to

cell-site simulator technology. There are 13 components within DOJ responsible for

processing FOIA requests for the offices identified in Plaintiff’s request.

       2.      The parties are continuing to confer on the outstanding matters in this case.

Because this case has recently been re-assigned to a different trial counsel for Defendant,

the parties propose providing the Court with a more detailed update in 60 days, by June 17,

2024. The parties agree that a status conference is not needed at this time.




1
  For ease and efficiency of reference, all of the components are referred to collectively as
“components.” One component, the Office of the Inspector General, is a statutorily created
independent entity within DOJ.
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                                   Respectfully submitted,

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                                   Counsel for Plaintiff PPSA, Inc.
DATED: April 17, 2024




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